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FILED
IN THE UNITED STATES DISTRICT COURT r> 04 2009
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

By.
Deputy
UNITED STATES OF AMERICA
V. CRIMINAL NO. 3:08-CR-089
JEFFREY ROGERS

INFORMATION

The United States Attorney Charges:
COUNT 1
18 U.S.C. § 242
Deprivation of Rights Under Color of Law

On or about June 9, 2007, in Ripley, Tippah County, Mississippi, in the Northern District of
Mississippi, defendant JEFFREY ROGERS, while acting under, color of law, and while aided and
abetted by co-defendant William Rogers, assaulted J.H. by tasering him repeatedly without
justification and thereby willfully deprived him of a right secured and protected by the Constitution
and laws of the United States, specifically, the right not to be deprived of liberty without due process
of law, which includes the right to be free from excessive force by a sheriff's deputy.

All in violation of Title 18, United States Code, section 242.

Respectfully submitted,

JIM M. GREENLEE
United States Attorney

LORETTA KING
Acting Assistant Attorney General

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Civil Rights Division
U.S. Department of Justice
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U.S. Department of Justice

